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                                             Notice of Chapter 11 Bankruptcy Case
                             United States Bankruptcy Court Southern District of Mississippi

 Information to identify the case:
 Debtor 1               Debra A Buchanan                                                         Social Security number or ITIN           xxx−xx−2504
                        First Name    Middle Name    Last Name                                   EIN _ _−_ _ _ _ _ _ _
 Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
                        First Name    Middle Name    Last Name
 (Spouse, if filing)
                                                                                                 EIN     _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court for the Southern District of Mississippi
 Case number: 18−02672−ee                                                                        Date case filed for chapter 11          7/10/18


For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.

Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See line 10 below for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Cell Phones and other electronic devices are generally not allowed in the courthouses of this District. For more information visit
www.mssb.uscourts.gov.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                                  About Debtor 1:                                           About Debtor 2:
 1. Debtor's full name                            Debra A Buchanan

 2. All other names used in the
    last 8 years

 3. Address                                       972 Garvin Street
                                                  Jackson, MS 39206

 4. Debtor's attorney                             R. Michael Bolen
      Name and address                            Hood & Bolen, PLLC                                        Contact phone 601−923−0788
                                                  3770 Hwy. 80 West
                                                  Jackson, MS 39209

 5. Bankruptcy clerk's office              501 East Court Street, Suite 2.300                               Office Hours:
                                                                                                            Monday − Friday 8:00 AM − 5:00 PM
      Documents in this case may be filed P.O. Box 2448
      at this address. You may inspect all Jackson, MS 39225−2448
      records filed in this case at this office                                                             Contact phone: 601−608−4600
      or online at www.pacer.gov.
                                                                                                            Date: 7/12/18

                                                                                                           For more information, see page 2 >



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Debtor Debra A Buchanan                                                                                                         Case number 18−02672−ee

 6. Meeting of creditors                      August 17, 2018 at 02:30 PM                                  Location:
     Debtors must attend the meeting to be
     questioned under oath. In a joint case, The meeting may be continued or adjourned to a later          501 East Court Street, Suite 1.452,
     both spouses must attend. Creditors     date. If so, the date will be on the court docket.            Jackson, MS 39201
     may attend, but are not required to do
     so.
     Debtors must provide original picture
     identification and proof of social
     security number to the trustee at the
     meeting.

 7. Deadlines                               File by the deadline to object to discharge First date set for hearing on confirmation of plan.
     The bankruptcy clerk's office must     or to challenge whether certain debts are The court will send you a notice of that date later.
     receive these documents and any        dischargeable:
     required filing fee by the following                                               Deadline for filing dischargeability
     deadlines.                                                                         complaints: 10/16/18
                                            You must file a complaint:
                                            • if you assert that the debtor is not entitled to receive
                                            a discharge of any debts under 11 U.S.C. § 1141(d)(3)
                                            or
                                            • if you want to have a debt excepted from discharge
                                            under 11 U.S.C. § 523(a)(2), (4), or (6).


                                            Deadline for filing proof of claim:                          Filing Deadline: 11/7/18
                                                                                                         For a governmental unit: 1/7/19
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                            at www.uscourts.gov or any bankruptcy clerk's office.

                                            Your claim will be allowed in the amount scheduled unless:
                                            • your claim is designated as disputed, contingent, or unliquidated;
                                            • you file a proof of claim in a different amount; or
                                            • you receive another notice.

                                            If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                            must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a
                                            plan. You may file a proof of claim even if your claim is scheduled.

                                            You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov. Secured
                                            creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                            claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                            explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                            rights, including the right to a jury trial.


                                            Deadline to object to exemptions:                            Filing Deadline:
                                            The law permits debtors to keep certain property as          30 days after the conclusion of the meeting of
                                            exempt. If you believe that the law does not authorize       creditors
                                            an exemption claimed, you may file an objection.

 8. Creditors with a foreign                If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
    address                                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                            any questions about your rights in this case.

 9. Filing a Chapter 11                      Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
    bankruptcy case                          court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee
                                             is serving, the debtor will remain in possession of the property and may continue to operate the debtor's
                                             business.

 10. Discharge of debts                     Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                            See 11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until
                                            all payments under the plan are made. A discharge means that creditors may never try to collect the debt
                                            from the debtors personally except as provided in the plan. If you believe that a particular debt owed to you
                                            should be excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint
                                            and pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not
                                            entitled to a discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay
                                            the filing fee in the clerk's office by the first date set for the hearing on confirmation of the plan. The court will
                                            send you another notice telling you of that date.

 11. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                            distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
                                            as exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                            believe that the law does not authorize an exemption that the debtors claim, you may file an objection. The
                                            bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 7.

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